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 4   Attorneys for
     JOSH LANE
 5
 6                              IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-07-120 EJG
                                         )
 9                      Plaintiff,       )
                                         )                STIPULATION TO CONTINUE STATUS
10                                       )                CONFERENCE AND EXCLUDE TIME
           v.                            )                UNDER SPEEDY TRIAL ACT
11                                       )
     JOSH LANE, et al.,                  )
12                                       )
                        Defendants.      )
13   ____________________________________)
14           IT IS HEREBY STIPULATED AND AGREED between the defendant, Josh Lane, by and
15   through his defense counsel, Bruce Locke, and the United States of America by and through its
16   counsel, Assistant U.S. Attorney Heiko Coppola, that the status conference presently set for
17   November 13, 2009 at 10:00 a.m., should be continued to February 12, 2010 at 10:00 a.m., and that
18   time under the Speedy Trial Act should be excluded from November 13, 2009 through February 12,
19   2010.
20           The reason for the continuance is that the co-defendants who have not yet been arraigned are
21   all located in Canada and the Government is still attempting to procure their presence in this case.
22   Counsel for Mr. Lane is also continuing his investigation of the matter. Accordingly, the time
23   between November 13, 2009 and February 12, 2010 should be excluded from the Speedy Trial
24   calculation pursuant to Title 18 United States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4
25   for defense preparation.     The parties stipulate that the ends of justice served by granting this
26   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
27   §3161(h)(7)(A). Mr. Coppola has authorized Mr. Locke to sign this pleading for him.
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 2
 3   DATED: November 10, 2009                /S/ Bruce Locke
                                       BRUCE LOCKE
 4                                     Attorney for Josh Lane
 5
 6
     DATED: November 10, 2009             /S/ Bruce Locke
 7                                     For HEIKO COPPOLA
                                       Attorney for the United States
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 9
           IT IS SO ORDERED.
10
11
12   DATED: November 12, 2009          /s/ Edward J. Garcia
                                       UNITED STATES DISTRICT JUDGE
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